                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

John Doe
                                   Plaintiff,
v.                                                     Case No.: 1:17−cv−06583
                                                       Honorable Robert M. Dow Jr.
Northwestern University
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 24, 2018:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Upon request of the
parties, the status hearing set for 1/23/18 at 9:00 a.m. is cancelled and reset for 2/15/18 at
9:00 a.m. Mailed notice(cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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